Case 1:21-cv-02170-ACR   Document 93-9   Filed 05/26/25   Page 1 of 50




                         EXHIBIT
     Case 1:21-cv-02170-ACR           Document 93-9       Filed 05/26/25      Page 2 of 50




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ERIN SMITH, et al.                            *

       Plaintiffs                             *

v.                                            *     Case No. 21-CV-02170

DAVID WALLS-KAUFMAN, et al                    *

       Defendants                             *

                                        DECLARATION

       COMES NOW Grant Fredericks, with a business address of 11001 East Coyote Rock
Ln., Spokane Valley, WA, and states as follows:

1.     I am over the age of 18 and competent to testify as to the matters contained herein.

2.     I am a certified forensic video analyst.

3.     I was retained by the law firm of Goodwin Weber, PLLC to analyze video and then to
offer my opinions based on the review of that video evidence.

4.     I prepared a report on July 6, 2022 which contains:
       (a) my background and qualifications;
       (b) the equipment used;
       (c) a description of the video, information and data provided to me;
       (d) technical considerations; and
       (e) my opinions.

5.     In addition to my report, I prepared a video compilation of Jeffrey Smith's Bodywom
camera Axon_Body_3_Video_2021-0l-06_195l_UTC.mpf) and another video entitled
JohnSullivan.Jade Sacker FULL UNEDITED VIDEO Capitol Riot.mp4. This is a complete
synchronization of the events as described in my report.

6.      My proposed testimony is contained in the report (together with the synchronized video),
to include ultimate opinions which are contained on page 21 of my report is incorporated herein
by reference. I ultimately found that the person identified to me as Defendant David Walls-
Kaufman struck Officer Jeffrey Smith at least two (2) times with the police baton. I hold my
opinions to a reasonable degree of certainty in the field of video analysis.
      Case 1:21-cv-02170-ACR          Document 93-9       Filed 05/26/25     Page 3 of 50




    Pursuant to 28 USC § 1746, I declare under penalty of perjury under the laws of the United
--States of America that the foregoing-is--iiuein(f correcLExecuted on:--           -- - - - -

   May 25, 2025
 Date                                                       a.d??¥f¼k
                                                               t Fre enc s
                 Case 1:21-cv-02170-ACR   Document 93-9     Filed 05/26/25          Page 4 of 50

                              I.




                   UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



            ERIN SMITH
-----··--                                                 - - - ···-·----···-·---   ···--- ........   ---
            c/o Goodwin Weber PLLC
            267 Kentlands Blvd #250
            Gaithersburg, MD 208781,


                                                                          Case No. 1:21-CV-2170

            ERIN SMITH, PERSONAL
            REPRESENTATIVE OF THE ESTATE OF JEFFREY SMITH
            c/o Goodwin Weber PLLC
            267 Kentlands Blvd #250 Gaith.ersburg, MD 20878

                                                                    Plaintiff.

            V.
            DR. DAVID KAU-FMAN
            411 East Capitol St., SE
            Washington, DC 20003 •

            &

            TAYLOR F. TARANTO
            1311 N Beech Ave
            Pasco, WA, 99301

                                                                    Defendant(s)




                                                                   • Forensic Video Analysis
                                                                     Grant Fredericks
                                                                     Analyst




            Confidential                       Page 1                                            7/6/2022
           Case 1:21-cv-02170-ACR                               Document 93-9                    Filed 05/26/25                  Page 5 of 50




      Table of Contents

      Introduction ....................................................................................................... :................. 3

     ·Qualifications .......... :................................. :.~ .......... ;; ..- ....... :..................... ;.~ ...... .-.................. 5

      Compensation ........... ~························ .. ······ .. ··· ............:·~-: ..................................... :............... ·9-



      Exhibits .................. .......................... ................................ ........... .......................... .. ... ....... 10

      Technical Considerations .................................................................................................. 12

      An.alysis. ~ ........................................................................................................................ •.... 13

       Opinion ............................................................................................................................. 21




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        Confidential                                                        Page2                                                           7/6/2022
                        Case 1:21-cv-02170-ACR                     Document 93-9                Filed 05/26/25             Page 6 of 50




                    Introduction


                    eu-Jurre-2..-8;-2022-,-I-was-fust-contacted·by-Attomey-E>avid-Weber-of-Goodwin-Weber-in------

                    relation to the above reference civil case.



                   •In various communicatfons, I have been asked fo- conduct an analysis ·of video images iri -

             •
                    order to produce   an ac~urate intei-pretation of technical issues
                 --·-··---·-··-·-·---·--
                                   ·-···-·-·- -·--·-····· · - - - · - · · - · . . . . . ·-•···--·-···.
                                                                                                             relating .to
                                                                                                       -----·----      .
                                                                                                                          motion blur, speed
                                                                                                                          ·----··-·· ·- ---·--·--

                    of movement, timing, synchronization, tracking and contact and positioning of events. I

                    was also asked to track the movements o{ two Defendants. Both D_efendants were identified

                    to me as Kaufman and Taranto. I have no personal knowledge of the Defendants; therefore,

                    the identification in this report is dependent on the information that I was initially provided.

                    All tracking, however, accurately tracks the individuals who were identified to me.



                    In order to conduct this analysis, I was provided with two primary video sources. One video

                     source is from a Body Worn Camera (BWC), worn by Officer Jeffrey Smith of District of

                     Columbia Metropolitan Police Department. The second video· was recovered ·from an

                     unknown open-source recording. A careful examination of both vi1eos shows that they

                     were recorded at the same time and location and could be easily synchronized.



                     A number of identifiable individuals (civilians and police) are depicted in both videos and

                     are moving consistently in both.



                 •- This report tracks the movements primarily of Kaufman, Taranto and -Smith. This report ·

                     will show that· both Kaufman and· Taranto had physical contact with a number of police

_________,officers .. and-were-interfering_with_the_attempted arrestLc.on.frol_of_iri.diYiduals involved in

                     the storming of the Capitol Building in Washington, DC on January 6, 2021.




                     Confidential                                             Page 3                                                 7/6/2022
                Case 1:21-cv-02170-ACR            Document 93-9       Filed 05/26/25      Page 7 of 50




              This report will show that Kaufman took control of Officer Smith's baton and struck

              Officer Smith in the head and in the chest.



- -·-----This report-will also-show that after-Kaufinan--assaulted Officer-Smith, he-iS-seen struggling----

              over control of another baton with an unknown uniformed officer.



              This report identifies slide numbers in a-synchronized demonstrative utilizing the two video-

              recordings. Eaoh slide contains a linear record of movement and js separated in time by

              ,...,33 milliseconds (ms).



              This report is not intended to provide opinions regarding medical issues, police practices,

              human factors, or use of force. •




  -----·-----·- - - - - - - -                ------------ - - - - - - -



               Confidential                                 Page4                                 7/6/2022
           Case 1:21-cv-02170-ACR             Document 93-9         Filed 05/26/25       Page 8 of 50




   --- - - Qualifications ____


         :-am-a-Gertified-Forensie-V-ideo-Analyst-with-ex:tensive-experience-in-the-ree0very-,- - - - - -

         scientific examination, and evaluation of recorded video and audio information' involving

         criminal and civil investigations in the United States (US), Canada, the United Kingdom
        -(UK), and elsewhere: 1have been·contib.uou.sly active-in this -science since 1984~ - -



         I attained an undergraduate degree in Television Broadcast Communications, with an
         emphasis on television engineering in 19 82~



         As a Forensic Video Analyst, I have processed thousands of videotapes and computer discs

         containing digital multimedia evidence for both criminal and civil cases. I have been

         providing expert testimony as a Forensic Video Analyst since the early 1990's. In the past

         ten (lOf years I have provided expert testimony in the field of Forensic Video Analysis

         more than b~e hundr~~ and fifty (150) times in US and Canadian courts at all levels. I have
         testified as an expert in Forensic Video Analysis in W asbington State, Arizona, California,

         Colorado, Connecticut, Florida, Idaho, Illinois, Iowa, Maine, Massachusetts, Michigan,

         Missouri, Nevada, New Hampshire, New Mexico, New York, North Carolina, North

         Dakota, Ohio, Oregon, Pennsylvania, South Carolina, Texas, British Columbia, Alberta,

         Manitoba, New Brunswick, Ontario, the Yukon Territories; London, England, Auckland,

         New Zealand, and in the Cayman Islands.



         From 1999 until December of 2012; I was the Principal Instructor for a series of Forensic -- -

         Video Analysis courses offered by· the Law Enforcement & Emergency Services Video

       __ AssQQiation _(L~VA}, c1nop-profit organizati01;t_1;Jiat to date had trained mqr.e than 3000 law -

         enforcement and private sector video analysts from around the world.

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         Confidential                                Page 5                                    -7/6/2022
               Case 1:21-cv-02170-ACR                                                                                      Document 93-9            Filed 05/26/25   Page 9 of 50




            From 2006 until December of 2012, I was the Team Leader for LEVA's Forensic Video

            Analysis Certification Program.



--------From-1998--until-20-13-,.-I-was-the.-Team.-Leader-of.LEYA'-s.-Curric:ulum_Development_ _ __

             Committee, and I continued as an active member of the Committee until 2016.



            ·I have been an active member of-LEVA since -1994 and I continue offering instruction in

            the science of forensic video analysis.



             From 2002 to 2021, I was a contract mstructor of Forensic Video Analysis and Digital

             Multimedia Evidence Processing for the Federal Bureau of Investigation (FBI) National

             Academy in Quantico, VA. During this time, I taught all four annual FBINA Sessions. In

             2019, I began teaching a series of classes for the FBI' s National Command Center, National
             Executive· Institute, and Law Enforcement Executive Development Center. Under this

             program, I teach four executive level video introductory sessions each year.



             From 2006 until 2014, I was the Digital Video Advisor to the International Association of

             Chiefs of Police (IACP) for its In-Car Video project and for its Digital Interview Room

             Standards project, which was funded by the US Department of Justice (DOJ). These

             programs are focused specifically on the development of compression standards for

             improved performance of digital video systems to ensure accurate presentation in court. I

             am a co-author of the national standards for mobile video recording systems for law

             enforcement.


             From 2004-untir20I€,1 was an mstructorof ForensicVideo--Analysis-·atthe-University-of

             Indianapolis, IN. I provided more than 2900 hours of classroom instruction to video
               •••   -   •   •►   •   '   ·-   ·-   •   ·•·   -.---·-   •••   •···   '   •   -·   •   -   --   --   -   -· • • -   -   •




             .analyst&--fromthroughout the-world who-have attended.the university~sl)igitalMultimedia_


             Confidential                                                                                                                  Page 6                         7/6/2022
                     Case 1:21-cv-02170-ACR                            Document 93-9                                            Filed 05/26/25     Page 10 of 50




                  Evidence Processing Lab. Students serve as video analysts, primarily from law
                  enforcement agencies in the US, Canada, the UK, Australia, and Asia. Each of the courses

                  focused on digital video encoding and analog 'video engineering principles, and on the
 - ----•·•----------application of proper-scientific-methodologies for processing digital multiinedia.. evidence, ·--·-------

                 .including scientific techniques used to determine image furring intervals to _accurately

                  convert time-lapsed video into real-time video for synchronization of separately recorded
             -··--- video and audio sources.··· ·-----··--



                  One of the courses that I taught at the University of Indianapolis is entitled

                  PhotographicNideo Comparisons, which focuses on the identification of vehicles,

                   clothing, and weapons captured to digital and .analog video recording sources. Vehicle

                  identification examines class and unique characteristics of Questioned Vehicle, and often

                   included headligh~ spread pattern analysis. Clothing identification examinations often
                   involve comparing fabrics recorded under the influence of infrared illumination. I have

                   conducted fabric analysis examinations throughout N ortb. America and other locations, and

                   I have taught extensively on the influences of infrared illumination and its effect on fabrics

                   recorded to video. I taught courses in PhotographicNideo Comparisons of vehicles and

                   clothing in Canada at the British Columbia Institute of Technology, in the UK, and in

                   Indianapolis for each of the twenty (20) years from 1998 to 2017. This course is accredited

                   by LEVA, which recognizes the course in its Forensic Video Analysis Certification

                   Program.


                                                            ••     •   -•-   •••   -•-    •    ••             •   •        u•




                   A significant element of the PhotographicNideo Comparison course material, and of the

                   other courses that I teach, involves the science of Reverse Projection Photogrammetry.
                   Reverse Proiection -1s the scientific process of ootrng accurate measurements -and·

                   making accurate observations from photographic and video images. Reverse Projection has
               ---- ·---- ----· .. -·- ·-.   --·-·   ----   --·.                     -   •·.        - .   -       .   ·-· -----···-- -      . -·   . --- ·-·   ---·--·-----··   -·   -

----·--·-·---- --- -- ---been used-among-imaging -scientists,--investigators,-and--in US courts-.regularly.-for.-more. -···--·--·------


                   Confidential                                                          Page 7                                                                    7/6/2022
                            Case 1:21-cv-02170-ACR                         Document 93-9                  Filed 05/26/25               Page 11 of 50




                        than forty (40) years as a tool to reproduce crime and accident scenes, to conduct

                        measurements and to make other accurate observations. I have conducted calibrated

                        measurements of video images using varjou~ technologies includ#ig 3D scanners,

                        photographs, aerial. d.rone..video. an<icb:one images ____ _



                         Each of the courses that I teach focuses on reflection of light, both visual and infrared, pixel

                         tracking, digital compression technology applications, macroblock analysis, motion :vector .

                         analysis, color measurement/analysis, speed estimation, and on digitaLand analog artifact

                       • (error) identification for the purpose of ensuring accurate interpretation of video evidence.·



                         I have lectured extensively on the technical uses and applications of various body worn

                         video systems throughout the US, Canada and in other parts of the world. I am currently a

                         consultant to Axon Enterprises, the maker of the Axon body camera that was worn by

                         Officer Smith during the events in this case. I have conducted authentication examinations

                         and video analysis investigations of many hundreds of incidents involving Axon body worn

                         video systems.



                         I am a former Police Officer with the City of Vancouver Police Department in Canada
                         where I was assigned to the Criminal Investigation Division as the head of the department's

                         Forensic Video Unit.




- - - - - - - - - - - · - - - - - · - - · - - - - - - · - - - · - - - · · - - - - - - - - · - - - --·---- -- - - - - - · - - --·- · - - - - - - - ----- -------·-- - - · - - - -




                          Confidential                                                -Page 8                                                  . 7/6/2022
                Case 1:21-cv-02170-ACR               Document 93-9   Filed 05/26/25    Page 12 of 50




               ·compensation ___ _

-----See-attaGhed-Fee-Schedul.v--------------------------

        - - - - - - - - - - --------                                           - - - - - - - - - - - · - ------------ - - -


               Primary Equipn1ent & Software Used


                        -• .Axon Investigate.2.8.0

                         •     Medialnfo 0.7.58.

                         •     Photo shop 23 .4 .1
                          •    QuickTime Pro 7. 7.2




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                Confidential                               Page 9                               7/6/2022
                             Case 1:21-cv-02170-ACR             Document 93-9          Filed 05/26/25        Page 13 of 50


          I
... --   ----- - ---   ~




                           Exliiliits


-----All-informatien,any-and-all o-f.-the-undetlying-foundationaLor...su.pportmaterials,_and.LoLan. ,__ _ _ __

                           portion thereof within this document, or any of its references or attachments, are to be
                                           - - - - - ---------------
                           considered important exhibits with regard to this case and this report.



                           All .g64 files, .exe files, .mp4 files, .arv files, PDF files, .png files .JPG files, .xlxs files.,
                           .csv files, images, videos, recordings, testing, methods, procedures, etc. are all to be •
                           considered exhibits that are hereby fully incorporated, and are an integral part of this report, •
                           and may be used at any time during any aspect of proceedings associated with this case,
                           including, but not limited to, deposition and/or trial as exhibits to aid in my testimony or
                           presentation.


                           In order to attempt to answer the posed questions, I was provided with the following
                           exhibits for my analysis:


                           Received July 4, 2022 - via e-mail:
                               Item 1.      Officer Jeff Smith BWC l.pdf
                               Item 2.      23-5.pdf
                               Item 3.      23-6.pdf



                           Received July 4, 2022 - via DropBox:
                             .. Item 4.     -Axon_Body_3..:..Video_2021~01-06_195l_;_UTC.mp4.



    ----~Received Jqly_! 2022 -via File Share:
                               Item 5.      John SullivanJade Sacker FULL UNEDITED VIDEO Capitol Riot.mp4
                              -Item·6. --- --CapitarBreach Mashup.mp4
                             ----------·-----·--···--------·-------



                           Confidential                                 Page 10                                      7/6/2022
            Case 1:21-cv-02170-ACR                Document 93-9             Filed 05/26/25           Page 14 of 50




           Each of these items was reviewed in detail.


                          - - - - - - - · • . ·-· ··-·--- ·---- - - - - · · - · - - - - · - - · - - - - -




_;   _____________




           Confidential                                     Page 11                                         7/6/2022
              Case 1:21-cv-02170-ACR           Document 93-9         Filed 05/26/25     Page 15 of 50




            Technical Coiisideratic.-:nK ---


-----During-tb.e-examination--of-the-video-in-tbi&-case,-carefuLconsideration_was_giY.en._t.o'-------

            tecbnical variables that can introduce errors into the image, and that could result in the
              -------------------------- - - -                                                   - - - - - --·- --- -----
            misinterpretation of the images by an untrained observer of compressed video images.

            Some of the variables that require accurate interpretation include:


                •   Color values affected by clipping and oversaturation

                •   Artificial edge patterns that may affect the shape of objects

                •   Object location and shape adjusted by lens distortion

                •   Lens curvature and distance evaluation based on wide angle lens

                •   Image refresh rates effecting event timing
                •   Motion blur caused by speed of movement of objects or of the camera

                •   GOP structure of images sequences
                            '
                •   Pixel tracking




                                                                   ------------------ - - - - - - -



             Confidential                              Page 12                                 7/6/2022
             Case 1:21-cv-02170-ACR                         Document 93-9         Filed 05/26/25             Page 16 of 50




           Analysis

           The included document Synchronized Event Tracking.pdf provides a synchronized
           demonstrative utilizing Officer Smith's BWC video and video from an unlmown source.
           The events-depicted in the u.n.lcnown source images were recordea-aCtlie same tfyieanci --------~-----c-- --

           location as.the BWC images.


            ·-·---·-··          •   -·- ·-· ··-·--·- -- .
           For the purpose of clarity~ the images
                                                             -
                                                                 from the unlmc;wn·source v{deo have·beeii.-sfabilized -•
           to remove some of the shaky appearance, further assisting visual intelligibility.


           Colored arrows have been added to various images to assist with. tracldng individuals and

           for articulating timed observations.


           All ·of the depicted events occur with.in the US Capitol Building.


           A slide number has been· added at the bottom right comer of each slide for reference

---1-•------purposes-.------------                                                                 ------------ ·-----




           Slide 1 shows Officer Smith's BWC perspective on the right side and the unlmown source

           is_ depicted on the left side.


           Officer Smith's BWC was entitled Axon_Body_3_ Video_2021-0J-06_1951_ UTC.mp4
           and is an original recording, based on the metadata found within the encoded file.
                                                        ..                .                    .   ·--   -·· .   . .   .. - ·•




            The open-source video was entitled John SullivanJade Sacker FULL UNEDITED

            VIDEO Capitol Riotmp4.


-----------------




            Confidential                                             Page 13                                           7/6/2022
     Case 1:21-cv-02170-ACR            Document 93-9        Filed 05/26/25              Page 17 of 50




   In the BWC view of slide 1, Smith's left gloved hand is holding one end of his baton. The

   object at the top center of the image appears to be sunglasses, which become more visible

   throughout the n~coriling.

                                                     --·· - - - - - - - - - - - - - - - - - - - - - - - - - - - -

   Slide 11 shows a red arrow and a green arrow. The red arrow identifies the location of
                                   -   ~        .
                                               - -   - -
   Defendant Kaufman at various times throughout the recordings.


                                           I

  . The green arrow identifies the location of Defenda:nt Taranto at various tim~.s throughout

   the recording.



   Slide 13 shows a blue arrow. The blue arrow identifies the location of Officer Smith at

   various times throughout the recordings.



   Slides 14 to 22 show Taranto and Kaufman facing a uniformed police officer. Their hands

   are extended outward toward an unknown male who is dress in black and who is in contact

   with an officer who is wearing ahelmet.



   Slides 30 to 44 shows Taranto raising a cane into the a:ir as he faces a uniformed officer.



   ~lides 48 to 55 show Taranto reaching forward with his right hand and contacting the

   gloved left hand of the officer who is holding the unknown male.



-- .. Slides.76'to 155 show Taranto and Kaufrnaiiinovirig forward toward the male\vhcds in

   the custody of the uniformed police officers.



   The male is being moved backward through the police line toward Smith.




    Confidential                               Page 14                                            7/6/2022
                                                      Case 1:21-cv-02170-ACR                                  Document 93-9                      Filed 05/26/25          Page 18 of 50



                                                                                                                                                                                  -   --   •---·   --   .   --   ····-•-   - -·-

                                                Slides 168 to 195 shows Smith moving forward toward the male. At slide 195, the mail is

                                                visible in Smith's BWC on_the image on the left side of the slide.



                                       ---Starting- at slide-207,-Kaufm.an.is. visible on Smith:s .BWC-as. he moves .toward.Smith__ ------·-----



                                                Slide 249 shows the position. of ·r'~anto and Kaufinan in relation to the location of Smith

                                                in the video on the right. In the same slide, Smith's -BWC shows Kaufman with -the red ..

                                                 arrow. Taranto is visible to Kaufman's. right and at the center of the BWC image. At the ,

                                                tip of the red arrow is the-cane that is being carried by Taranto in his left hand. Smith's .

                                                right hand is visible at the top of the image, extended toward Taranto.



                                                 Slides 250 to 261, shows Smith moving his right hand towarq. his body. At slide 261, his

                                                 right hand grips the handle of bis baton. His left hand is seen at the top left comer of the

                                                 images gripping the other end of the baton.



                                                 The videos show that both Kaufman and Taranto continue moving toward Smith's position.



                                                 At Slide 266, a magnified view of Smith is added to the slides to assist with observations

                                                 and timing events. The magnified view is an enlarged section from the unknown source

                                                 video. Smith is at the center of the magnified area and is also tracked with the blue arrow

                                                 in the larger image on the right (below).



                                                 Slides 264 to 274 -show that Kaufman'·s right hand 1.s gnppin.g" the ·left forearm of a

                                                 uniformed officer who is standing in front of Smith.



                                                  Starting at slide 275, Kaufman releases bis grip on the other officer and moves toward
   •   -   ••-•-   ••   -   •   --••   ••   •   •--   u•---•-•   •   •   •--   •   •-•   •   ••••-   --   •       -       •   •   -••   •--••   ••-   •   •-   •   •••                        •




- ·----· ---------Smith.


                                                  Confidential                                                        Page 15                                                  7/6/2022
                  Case 1:21-cv-02170-ACR           Document 93-9        Filed 05/26/25       Page 19 of 50




                At about slide 282, Kaufman and Smith are face to face and within arm's reach.



 ___________ Slides283 __ and_2_84._show.K~\l@~'-~1~:ft hand moving_ upward toward Smith.                ·--··- ______


                                                                --                       -   -   .   -
                Slide 285 shows Smith's right hand moving through the camera view toward Kaufman.



                Slides 288 to 294~ show Srnjth' s right arm moving forward and connecting with Kaufman's

                left shoulder. Kaufman moves· to his right during this contact.



                Slide 300 shows Taranto's cane hand between Kaufman and Smith.



                Slides 300 to 350 shows Kaufman and Taranto moving backward as the police line moves

                forward. Kaufman and Taranto remain mostly in view of Smith'~ BWC.



                Slides 378 to 390 show Kaufman holding the en4 of Smith's baton. Another officer fa in

                contact with Kaufman's right wrist/foreann.



                At Slide 388, Smith's BWC shows that Kaufman is also holding the handle end of Smith's

                baton.



                 Slide 400 shows Smith's gloved right hand holding the handle of bis baton. Kaufman's left

                hand is holding ·the bafon ·near Smith's right hand.



-------I.Starting-at-slide·396; the-baton ~wings--downward-towaid Smith;_-_____ - ···




                 Confidential                             Page 16                                        7/6/2022
    Case 1:21-cv-02170-ACR               Document 93-9     Filed 05/26/25       Page 20 of 50




 Slides 400 and 401 show that the baton begins to move upward toward Smith. At the same

 moment, Kaufman's left hand twists forward and Smith's grip of the baton separates. The

.baton continues moving upward toward Smith.
- - - - - - - ---------··· - - - - - - - - - ---·-


 Slide 402 shows the baton moving upward mthe BWC view. In the video on the right,

 Smith's gloved right hand becomes visible in front of bis upper chest area. The light

 reflection at the front comer of Smith's face shield is moving upward,indicating that his · ···· - --- -· -

 head is moving_.downward. The magnified view also shows bis helro.et moving forward and                      ,

  downward.



  It is important to note th.at Kaufman's left hand, Smith's right hand and the baton, are all

  suffering from 'motion blur'. Motion blur is caused when an object is moving very quickly,

  in relation to other objects within an image that are not moving quickly .



 . Slides 403 to 406 show Smith's right glove hand moving upward and under his face shield.
                 .        -·         -                                            -
  Smith's BWC shows Kaufman is still holcling the baton and the baton is moving upward
                                            ·-------- - - - - - -

  toward Smith's face.



  Slides 406 to 409 show Kaufman's left arm extended to a position above Smith's camera.



  Slides 408 to 424 show Smith's face shield moving upward and away from his face., The

  shield and helmet are rotating upward to the right and backward to the left. It is not possible
                                                     . .                                - - -- ...... -- ..
  to lmow from the video images what movement the contact with the baton caused to

  Smith's head. When his helmet and face shield are visible again at slide 438, the face

-- shield ilnfnlop-of th-e .helmet and is no-tonger-covering his·face..




  Confidential                                  Page 17                                7/6/2022
          Case 1:21-cv-02170-ACR                Document 93-9          Filed 05/26/25   Page 21 of 50




        Slides 415 to 420 show that Smith's head and shoulders move downward in the image

        immediately after contact with the baton to the area inside the face shield.



    -- -· ·· At-slide-409 to- 419;--Kaufman-pulls-bis--left-han~ down and-away-from-Smith's. face.-His---- ---·--····----:--

        left hand is still holding the baton. Smith's hand is no longer in contact with the handle of

        the baton.



        Another example of motion blur is seen at slide 418 and 419, as Kaufinan moves the baton

        downward and then upward toward Smith for a second time.



        Slide 419 shows Kaufman's left hand is gripping the handle. His fingers have a loose grip

        on the baton.



         Slide 420, recorded ~33ms later, shows Kaufman's fist has a tight grip on the baton and

        the baton is again moving toward Smith.

                                      -----------

         Slides 421 to 425 shows the baton moving toward Smith's chest area.



         Slide 426 shows the forward movement of the baton has stopped, having made contact with

         Smith's chest. His sunglasses have been forced upward in the image on impact with the

         fist and ba,ton.


         .. .               -               .                     ·-      -                              -
         The magnified view of Smith on the right side shows his head moves upward and backward

         between slides 426 and 433, starting at the same time as the contact with the baton to bis

•        chest area.




         Confidential                                Page 18                                     7/6/2022
                           Case 1:21-cv-02170-ACR            Document 93-9       Filed 05/26/25              Page 22 of 50




                        Also starting at slide 426, and at the time of the second baton strike by Kaufman to Smith,
                        Kaufman's right hand begins to grasp the left wrist area of the officer to Smith's left side.

                        The officer is holding Kaufman's upper garment with his right hand. A piece of jewelry or
 ·-·------ - -----ring is ·aroundthe officer's·right-wrist and-his arm-is outstretched;--·-·-·-                        ----------




                        At slide 426, Taranto's left hand is visible near Kaufman's chest.



                        Between slides 433 and 434, Taranto moves his left hand forward, toward the officer who

                        is holding Kaufman.


                        At slides 440 and 441, Taranto' s left arm is outstretched, and the officer's arm is bent back

                        toward his body. The jewelry or ring around the officer's right wrist is visible. Taranto is

                         in contact with the officer's left arm.


                         Starting at slide 44 7, Taranto' s left arm is again positioned across Kaufman's chest.



                         At slide 441, Taranto's hand and arm move backward toward his body.



                         Slides 437 and 438 show Smith's right gloved hand in front of his BWC. His gloved hand

                         is empty.


                         Between slides 445 and 470, Smith moves backward. As he moves, his head appears to
                                                                                  - - .. --   ,.   --·   .         -     - .
                         sway backward and to the right. Smith continues to move backward and does not re-engage

                         with Kaufman or Taranto.




-· · - - - - - - · - - - - - · - -               --------·--·----------



                         Confidential                               Page 19                                        7/6/2022
             Case 1:21-cv-02170-ACR              Document 93-9                Filed 05/26/25           Page 23 of 50




          Slide 457 is the first image that shows Kaufman's left hand is not holding the baton after

          the initial image showing him controlling it. The BWC shows that he was in contact with
          the baton for at least 2.5 seconds.

---------------------------·------· - - -                    ··-·-·-----··-•--·--•                                            ----··-·--

           At slide 504, Smith is seen holding his baton in his left hand.



           Starting at slide .772, Kaufman is seen raising another baton in the air .with his right hand.

           A uniformed police officer is holding one portion of the baton.



           Kaufman and Taranto remain together until the end of the video.




                        --------··- ------·----




                                  - - - - - -- - - - · - - - - -- ----. ------- -·   - - -..· · · - - - - - - - - - - - - - · - - · · - · · · - · - - -


           Confidential                                   Page 20                                                 7/6/2022
                     Case 1:21-cv-02170-ACR              Document 93-9           Filed 05/26/25                  Page 24 of 50




                  Opinion


                   After·-carefully-exarnining--tire-provided-vi:deos-irrihis-case;-I-have-formed-tb:e-following

_______ . _ _ _o-=p'--llllons: __ _

                       •    the BWC and the open-source videos were reliably synchronized in the included

                             demonstrative allowing for an accurate multi-view perspective of the events from

                            the tw~ ~que c~~J;~~ngles._ . ___ .
                       •     Defendant Kaufman struck Officer Smith at least two times with Officer Smith's

                             baton.

                        •    The first time Defendant Kaufman struck Officer Smith with the baton, the

                             defendant directed the baton inside the face shield of the officer's helmet with

                             enough force to cause Officer Smith's face shield and helmet to move rapidly from

                             side to side on his head and for the face shield' to be moved to a position over the

                             helmet, exposing the officer's face.

                        •    The second time that Defendant Kaufman struck Officer Smith with the baton, the

                            • baton made contact with an area of the officer's chest just above the camera
                                      - - - - -------------- - - -                          ·-----------------------·
                             position, causing the officer's glasses to move upward rapidly and causing the

                             officer to move backward.

                        •    Defend.ant Taranto on multiple occa§lions made physical contact with uniformed

                             officers and positioned himself in front of Defendant Kaufman and the officers

                             while Kaufman wielded the baton toward Officer Smith.



                   This report is true and accurate to a reasonable, or higher, degree of professional certainty •

                   and/or probability.
                                                          ------·-·-•·--·-· - - - - - - -




                   Grant Fredericks
·---·-------·-·---                              - - - . -·---·-•------ - - - - - - - - -   · - - - - - - ···-- · - - - - - - - - - - · - · - - - - - - - · - · - - · - - - -




                    Confidential                                 Page 21                                                       7/6/2022
Firefox                                                                                                                                             about: blanl
                       Case 1:21-cv-02170-ACR                     Document 93-9                Filed 05/26/25                Page 25 of 50




                 orensic ideo olutions
             -              I                   I-
                                                                                                                                     Juty 7, 2020
                                                Standard Contract Fee/Retainer Schedule

          • ·- ---·-This fee scneaule is for fcirensac vioea/im-age{aooio·sefvices ·perforrrief;f by MCG"rant Fredericks or his
                   associates, acting under his supervision, d/b/a Forensic Video Solutionst Inc.. Fees fisted are in United States
                 do~lars.

                                  Forensic Video/Image/Audio Analysis.Hourly Fee= $250/hr (minimum 3 hours).
                                . Includes:. Digitization, Alignment,. Enhancement., Reverse Projection (height
                                  estimationt vehicle identification, speed analysis, weapons comparison) .Report
                                  Writing/Anafysis/Opinion, Court Presentation Production.

                                 Video Authentication: $3 1000 per video; ·short segments may be charged at a
                                 lesser rate.                                            •                •

                                 Digital Video Recorder (DVR) Recovery; $250/hr (minimum 2 hours).
                                 lndudes: Technical Research, Forensic Data Recovery, 1mage Calibration.

                                 Travel (500+ miles): $~500/day per employee. Flat rate for travel to any location
                                 more than 500 miles from Spokane, Washington. (See Travel Considerations)

                                 Video Conferencing Service: $60/hr - made available to minimize travel costs ta
                                 client (conferencing service fee only1 dC?5 not include consultation or deposition fees.}r

                                 Trial or Deposition Testimony: $350/hr (minimum 3 hours; max $2500/day}.
                              All required interviews/meetings with opposing counsel that are recorded by any
          -------------------means arefnvoii:ed at thfs-rate~·Me-etfrtgs/depositions where·opposing counsel is-
                                 responsible for payment must be paid in advance (see Payment Arrangements).

                                 Transcript Production: $90/hr (no minimum). Includes: Accurate transcript
                                 production, each transcribed line of text is accurate to within 1/30 .of a second
                                 where there is a reference and includes calibrated timeline of conversation.
                                 Transcript can be Integrated into visual display as accurately aligned 'sub-titl~s'
                                 in 'lower third' of display.

                                 Courtroom Display E<1uipment Rental: $200/day (minimum 3 days}. Package
                                 includes six 22" LCD monitors, distribution amp, and required display cabling.
                                 Rental fee does not cover shipping. All shipping charges are the responsibility of
                                 the cui~~er.--Pie~se contact us to check availabi"iity and scheduling~ • ••-  •• • •••




                                                - Expert Analysis ·1 Expert Testfmony n;xpeiOiistiiiition_______ _

                                                           16909 E Knox Lane, Spokane Valley, WA99016
                                                •info@forensicvideosaiutions:Co·m I www.forensic:vfcieosoliitior1s:com · .




 1 of2                                                                                                                                       9/2/2024, 12: 19 P
Firefox                                                                                                                                                            about:blanl
                             Case 1:21-cv-02170-ACR                                                 Document 93-9   Filed 05/26/25         Page 26 of 50




              orensic ideo olutions
          ·              -                I-           ·-              I

                                       Arc:hive Fee: $250 one-time charge. This fee is a flat rate, one-time charge for
                                        data archiving and evidence retention. The fee is applied to the last invoice for
                                - ---- -all cases processed by FVS. ·Under this agreementi·data and evidence-will· be--·------·-······----·-·----
                                        secured for up to five years; anything beyond the initial 5 year term is the
                                        responsibility of the client, unless otherwise negotiated with FVS in writing.

              Please note: A Retainer Agreement is required up front for most analysis projects.
               -·       -· - ·- -· . -·        ·~ . ·-    . -· -       -       .. - ., ,. --· . -
              Late Fees: All invoices are due 30 days from the date.of receipt: After 60 days, al~fre-biliirig fee- will be
                    •                                              '       '




              applied for every 30 day period thereafter.

               Expenses: The client is responsible far aH reason~ble costs of travel,. hotel1 and inciqentals such as printed
              •documentation, data copies, etc. FVS reserves the right to book air and hotel at coach/standard rates.
               Expenses are not included in the retainer payment, if one is made.

              Payment Arrangements: The client agrees that it will not assign any invoices to a 3rd party far payment
              without written permission from FVS. The client is solely responsibl~ to ensure that all FVS invoices are paid in
              full in a timely matter. In the event that a 3rd party offers to pay FVS invoices, the client assumes all
              responsibHity to obtain payment from the 3rd party. If opposing counsel or other 3rd party has not paid costs
              within 90 days of the invoice date, the client agrees to pay the invoice in fuU.

              Travel Considerations: Travel to locations less than 500 miles from Spokane, Washington may be billed as
              expenses plus the following, as is applicable: Travel time: $125/hr per employee. Overnight fee:. $500 flat rate
              per employee~ Standby/Court set up: $15O/hr per employee. Trial/Deposition Testimony: $350/hr (minimum 3
              hours).
                                                                                  ----------------------------·----··--·· ------- - -
              Criminal Defense Cases paid under 'Expert Witness Payment Schedules': In all cases where FVS is required to
              apply for payment to a third party) a $1rOOO refundable deposit is required from the attorney/dient. The
              $1,000 deposit will be refunded in fulfwhen FVS has received full payment for agreed services. This deposit Is
              intended to ensure that the client ls invested in the payment recovery process on behalf of FVS.

              Oient Acceptance: Unless otherwise agreed in writing~ in civil or in criminal defense cases, FVS works only
              under the direction of an attorney or an authorized person for a corporation or government agency. The
              signatory agrees to be responsible for all invoices incurred as a result of this engagement. The signatory must
              be a representative of a law firm or corporatiof\ or other professional entity. Under no circumstances ls a
              defendant, family member, relative, or friend of the defendant in a criminal proceeding considered to be 'the
              client, and all communication is restricted to the authorized party.

               FVS does not enter into contingency agreements.



                                                                                                     i
                                                                       • Expert Analysis ExpertTestimony I Expert Jnstroctiiiii- -- -

                                               . ...     . _ -·-- _ ··-·- __ . _is909 E Knoxi-an~, S.pok~n~..V.~l~ey,_WA.99ql§ ...   _
                                                                       lnfo@forensicvideosalutions.com I www.forensic:vJdeosolutions.com




2 of2                                                                                                                                                      9/2/2024, 12: 19 P:
                Case 1:21-cv-02170-ACR               Document 93-9           Filed 05/26/25         Page 27 of 50




                     CURRICULUM VITAE - GRANT FREDERICKS
                                        Certified Forensic Video Analyst

                      11001 East Coyote Rock Ln, Spokane Valley, WA I www.forensicvideosolutions.com
                                       (569) 467-3559 I I grant@forensicvideosolutions.com •                 .


         •• suMMARY OF QUALIFICATIONS.
                •   Certified Forensic Video Analyst

                •   Former police officer with over thirty::five years of expe.riencs .p.roc·essing vide·o evidence in the- •
                    United States, Canada, the United Kingdom, Mexico, and in other countries throughout the
                    world; condu~ed thousands of video related investigations.

                •   Provides expert testimony throughout the United States and Canada at all court levels; has
                    te!tified in Alabama, Arizona, California, Colorado, Connecticut, Florida, Idaho,_ Illinois, Iowa,
                    Maine, Massachusetts, Michigan, Missouri, Nevada, New Hampshire, New Mexico, New York,
                    North Carolina, North Dakota, Ohio, Oregon, Pennsylvania, South Carolina, Texas, Washington
                    State; Alberta, British Columbia, Manitoba, New Brunswick, Ontario, the Yukon Territories;
                    London, England; Auckland, New Zealand; in the Cayman' Islands, and elsewhere.

                •   Consultant for forensic video applicatjons to the US Department of Justice, Office of the US
                    Attorney General, International Association of Chiefs of Police, and to various industry leaders in
                    the area of forensic video technology.
                            I


                •   Over twenty-five years of experience as a leading provider otforensic video training to
 ----··---- ---- -government-and to private-video analysts from throughout the-world.------ - ----------- - - - - - -

                •   Contract Instructor of Forensic Video Analysis for the FBI Academy, Quantico, VA.



            AREAS OF EXPERTISE
            Forensic Video Analysis, including:
                •   Image Interpretation                                    •   Height Comparison
                • , Digital Video Examination, Recovery,                    •   Reverse Projection
                    and Processing                                          •   Object Measurement
                •   .Photographic.Video Comparison                          •   Pixel Tracking
                •   Image Enhancement                                       •   Motion Analysis
                •   Color Correction                                        •   Speed Estimation
_________       ■_ Forensic_\l.ideo Synchronizati9n _ _ __                --~ ____ Image.Stabilization




            Curriculum Vitae - Grant Fredericks                                                                      Page 1
                        Case 1:21-cv-02170-ACR                 Document 93-9        Filed 05/26/25               Page 28 of 50




                 RELATED WORK EXPERIENCE
                 Jan 1991-          Forensic Video Analyst: Forensic Video Solutions
                 Present            Analyst, Consultant, Expert Witness

 --·----·-·---- 2019 -. ·---- __ ·- Instructor: FBI Command Leadership Program (Qu_antico,_VA) ________ ----·-··---- ----··- _________ _
                2023

                 2002-              -Instructor: FBI National Academy (Quantico, VA)
                 2021

                · 1998;;            Instructor: Law Enforcement & Emergency Services Video Association •
                 Apr2018            (LEVA)

                                             "Photographic Video Comparison"
                                             Level Ill (40-hour course taught once a year)

                           1998 -            LEVA Principal Instructor
                           Dec 2012          "Forensic Video Analysis & the Law'
                                             Level I (40-hour course taught two times per year)

                                              ''Digital Multimedia Evidence Processing"
                                             Level II (40-hour course taught approximately two times per year)

                 2004-               Adjunct Instructor: University of Indianapolis (Indianapolis, IN)
                 2016                Forensic Video Analysis

                                             "Photographic Video Comparison"
                                  ··-- --·--(40-hour course taught at least once per·year) --------- ------··--------· -·-----··---·---

                  Mar 2000 -         Manager: Avid Technology, Public Safety Video Solutions
                  Dec 2006           Forensic Video Development, Sales, Marketing, & Training

                 Jan 1998 -          Adjunct Instructor: British Columbia Institute of Technology (Canada)
                 Aug 2006            Forensic Sciences Program

                                              "CCTV Surveillance Technologies"
                                              (40-hour course)

                                              "Photographic Video Comparison»
                                              (40-hour course)

                  Dec 1988 -         Police Officer: Vancouver Police Department (Canada)
                  Apr 2000           Patrol, K-9 Unit
                -------                           ----

                           Jan 1998-          Coordinator/Analyst: Forensic Video Unit
                        ··· . Apr 2000 . _. _ _
·--···- - - - - ·-- -·-·-----------I - - -                                -----·---       ·- · - - · - - - - - - - - - - - - - · - - - - - - - · - - - - --·----------


                  Curriculum Vitae - Grant Fredericks                                                                                    Page 2
                     Case 1:21-cv-02170-ACR             Document 93-9           Filed 05/26/25       Page 29 of 50




              Oct 1984 -        Producer, Director: West Coast Communications (FVS}
              2000              Film and Video Productions, Crime Recreations, & Video Clarification/Enhancement,
                                including:


                        1994, 1995,     Producer, Director, Writer: Annual BC Road Test Series
----------- -- -----------& 1996---------- --Aired on- BCTV !.92 &!93, and on CBC ---------- - - -

                        1988            Producer, Creator: "MANHUNT LIVE" Internationally syndicated
                                        2.hr.- live program fnves1:igating The Green River Mu-rders. Hosted by CBS's -
                                        DALLAS star, Patrick Duffy

                         Nov 1987 -     Writer, Producer; Director:· Seattle King-Courity C-rlme Stoppers
                         Dec 1988       Re-enactments. Weekly Productions.

                         Oct 1984-      Writer, Producer, Director: Greater Vancouver Crime Stoppers
                        Jan. 1988       Re-enactments. Weekly Productions.

              1984-             Free-lance Writer: Published in: Maclean's, Vancouver Magazine,
              Present           Government Video Magazine, Law Enforcement Technology Magazine, Forensic
                                Imaging, The Police Chief Magazine


              Jan 1983 -        News Reporter /Producer: VU 13 TV (Vancouver, BC}
              Jan 1988          On-Air Field Reporting, Nightly News Break Anchor.




               EDUCATION
             ··-1978 --1982----B.A.,Broadcast Communications; Gonzaga University - - -
                                Spokane, WA 99258. Graduated 1982.




               PROFESSIONAL MEMBERSHIPS
               Oct 4, 1994 -    Law Enforcement & Emergency Services Video Association (LEVA)
               Present


               Apr 1, 2001-     International Association for Identification (IAI)
               2019




               Currkulum Vitae - Grant Fredericks                                                                    Page 3
                       Case 1:21-cv-02170-ACR                         Document 93-9            Filed 05/26/25         Page 30 of 50




             I -

            ADVISORY COMMITTEE/BOARD
                   •       Global Strategic Solutions Working Group
                               -        Federal Advisory Committee to the U.S. Attorney General
                               -        Oct 2013 - October 2014

---·----·---•---·---
                   •       National Institute of Justice (NU)
                               -        Sensors and Surveillance Technical Working Group
                                       • Jari· 2011 - Dec 2013


                   •       Law Enforcement & Emergency Services Video Association (LEVA)
                               -        Forensic Video Analysis Certification Committee
                               -        Oct 4, 2001- Dec 31, 2012


                   •       Law Enforcement & Emergency Services Video Association (~EVA)
                               -        Forensic Video Analysis Curriculum Development Committee
                               -        Jul 15, 1997 - Present


                   •       International Association of Chiefs of Police (lACP)
                               -        Police In-car Camera Advisory Board - 2004 - 2011
                               -        Digital Video System for Public Safety Advisory Panel - 2013 - 2015


                   •       Security Industry Association (SIA)
                                   -    SIA Standards Committee, Digital Video Subcommittee
                                   -     2001-2006
                                                                                      - - - - - - - - - - - ---------------------------·------



             GOVERNMENT HEARINGS & BRIEFINGS
                       •   May 25, 200.9 - ~raidwood Commission, "Expert in Forensic Video Analysis", In-custody Death,
                           Vancouver, BC Commissioner Thomas Braidwood

                       •   Dec. 12, 2002 - Testified in Washington, DC during the Public Oversight Hearing for the
                           Committee on the Judiciary, Council of the District of Columbia, Bill 14-946, "Limited
                           Authorization of Video Surveillance and Privacy Protection Act of 2002"

                       •    Mar.. 14, 2002 - Hel.d ~eparate briefing on "CQV in. ~!"D~rica for !,omeland Se~u~t~y1' on_ c;api~ol .
                            Hill in Washington, DC

                                   -     Judiciary Subcommittee on Technology, Terrorism & Government - Senator Feinstein

                                   -     Judiciary Subcommittee on Immigration - Chief Counsel to SenatorTed-Rennedy' _______ --------

                                   -     Judiciary Subcommittee on Technology/Intellectual Properties - Senator Cantwell
                                        ·-   - -   . . . -· - .. -

                                                      - - - - ··--·---- ----------------··--· - - - - - - · - - - - - - - - - - ·-· -·----·


             Curriculum Vitae - Grant Fredericks                                                                                         Page 4
                      Case 1:21-cv-02170-ACR                  Document 93-9             Filed 05/26/25          Page 31 of 50




                 BROADCAST NEWS APPEARANCES
                 Various local and national broadcasts in Canada US & UK, including:


                      •       2016 - CBS News, 48 Hours - Forensic Video Consultant

 ---- ~- - -·-·· - -----• -- -20-16 """'-Dateline NBC---ForensicVideo.ConsultanL----·- ______ .-··- --·· _------· ··----·-----·· ·---- - -·- ------· ----

                      •       2009 - BBC Television - BBC NewsNight - Nico Bento Wrongful Conviction

                      •       2006 - National Geographic- Monsters of the Deep - Forensic Video Consultant

                      • .. 2006 -. 2007 CourtTV - Video Justice Series {five. programs) -· __

                      •       Apr. 9, 2003 - FoxNews, with John Gibson - examination of Saddam Hussein video .

                      •       Oct. 24, 2002 - FoxS, Washington DC, - examination of Osama bin Laden video

                      •       Oct. 24, 2002 - FoxNews, "On the Rec9rd with Greta Van Susteren"

                      •       Oct. 22, 2002 - CNN Headline News, Atlanta, GA - Washington, DC Sniper

                      •       Oct. 14, 2002 - ABC World News Tonight with Peter Jennings

                      •       Oct. 11, 2002 - Good Morning America, ABC N.ews - Washington DC Sniper

                      •       Dec. 18, 2001- CNN Headline News, Atlanta, GA- examination of Osama bin Laden video

                      •       Oct. 28, 2001 - MSNBC, NY - Forensic Video Applications In the News

                      •       Oct. 24, 2001 - ABC News 20/20, FBI Academy - Training the Terrorist Hunters/ Anthrax

                      •       Nov. 20, 1994 - HBO - Shock Video 2: The Show Business of Crime and Punishment


                 AWARDS
                      •       1S90    International As.sedation of Business Broadcasters Award
                                      HBest Television Program,,

                      •       1988    Crime Stoppers International HBest Television Re-enactment''

                      •       1987    SAM Award HBest Public Service Television Commercial"

                      •       1987    Crime Stoppers International HBest Television Re-enactment''

                      •       1987    R.T.N.D.A. Award HBest Investigative Story of The Year''

                      •       1986    NB.C. Broadcaster's Pul:,lic Service Award"

                          •   1986    R.T.N.D.A. Award 11Exce/lence in TV News BroadcastingJI

                          •1985 ... Radio and Television News Directors' Association {R.T.N.D.A.) Award
                                    11
-----·-•-····•··---·--··--- ___Exce/Jence in _TV News Broadcasting" _______________



                  Curriculum Vitae - Grant Fredericks                                                                              Page 5
             Case 1:21-cv-02170-ACR                 Document 93-9             Filed 05/26/25           Page 32 of 50




    CERTIFICATES OF RECOGNITON
         •     Chief Constable's Commendation, 2013. For Technical Management of large scale video
               investigation. Vancouver Police Department

         •     Vollmer Award for Excellence in Forensic Sciences, 2011. Presented to LEVA by the
---··- ._Jnternational_Association. of Chiefs of Polke _________ ,___ -·--·

         •     Chief Constable's Commendation, 1996.

         •     Superintendent's Commendation, 1995.

                                 1
         •     Supe.rin~en~~nt s c;:~ml}1endation, 19_9-4._

         •     Inspector's Commendation, 1993.

         •     Outstanding Contribution to Seattle King Co4nty Crime. Stoppers, 1989 ..

         •     Ou~tanding Contribution to Traffic Safety in the Community, 1988. Insurance Corporation of
               British Columbia.

         •     Outstanding Contribution to Greater Vancouver Crime Stoppers, 1987.

         •     Deputy Commissioner's Commendation for Search and Rescue Operation, 1987. Royal Canadian
               Mounted Police.

         •     Chief Constable's Commendation for Professional Conduct as a TV News Reporter, 1984.
               Vancouver Police Department.




    Primary Instructor for hundreds of Forensic Video workshops, lectures, and seminars in the United
    States, Canada, Brazil, Singapore, England, and the Bahamas.




                                                                           -----··--·•---•--- · - - - - - - - - -




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     Curriculum Vitae - Grant Fredericks                                                                                   Page 6
                         Case 1:21-cv-02170-ACR                        Document 93-9                Filed 05/26/25              Page 33 of 50




                  ·ADDITIONAL SPECIALIZED TRAINING - 2019 to 2022


                   Weaponizing Video Against Poltce - Connecticut Ch-iefs oH>olice Association Conference - s·outnington,
                   CT - June 20, 2019 (lecturer: 2 hrs)                                  •
 ------·--- --- ·--- . - · - - · · - - -   ----·-·--· -------·----·-------- - - • - · · · - - - - - - - - - - - · - · - - - - - - -· ··-·····----·-·. - - - - - ----···-----··


                   Video Investigation for the Homicide Investigator - Lab -Toronto Police Service, Toronto, Canada, July 8
                   &·9, 2019 (Instructor: 16 hrs) • -   - -      --



                    We.aponizing Video Against' Police·:.._ FBI Natrona I Executive Institute - "FBfAcadeniy, Quantico, Vk;_ ·---
                    August 6, 2019 (Lecturer: 2 hrs)



                    Video Literacy in the Digital Age - FBI National Academy - FBI Academy, Quantico, VA - August 8, 2019
                    (Lecturer: 2 hrs}


                    Video Investigation for Major Crime Investigators - Lab - Manchester Police Department, Manchester,
                    NH, August 14 & 15, 2019 (Instructor: 16 hrs)

                    Weaponizing Video Against Police - Mid-States Organized Crime Information Center Annual Confer~nce
                  • - Springfield, MO - August 21-22, 2019 (Lecturer: 4 hrs}



                    Video Investigation for Major Crime _Investigators - Lab - Austin Police Department, Austin,~,
                    September 4 & 5, 2019 (Instructor: 16 hrs}
---·-------·--··--·------ - - - - - - - - - - · - - - - - - - - - - -



                    Video Investigation for Major Crime Investigators - Lab_ West Jordan Police Department, West Jordan,
                    UT, September 19 & 20, 2019 (Instructor: 16 hrs)



                    Unmasking the Truth Behind Video Driven Investigations - National Association of Civilian Oversight of
                    Law Enforcement- Detroit, Ml - September 23, 2019 (Lecturer: 2 hrs}



                    Exposing Hidden Evidence in Use of Force Videos -_Massachusetts State Police Academy- New
                    Braintree, MA- September.25, 2019 (Lecturer:-: 2 hrs} __


                     How Video is being Weaponized Against Police - Massachusetts State Police Academy- New Braintree,
-----

    - - - - MA---September-26,.-:1019-(-Lecturer; 2 h r s ) - - - -             ---·--·-·--· - - - - - ~ -----------·-



                        · Video Examinations for Homicide Investigators -Arizona International Homicide Investigator's ..
    . -··------ ··-- ____C_onference - Las Vegas Nevada, October 1, 2019 (Lecturer: 4 hrs} ________________ _



                     Curriculum Vitae - Grant Fredericks                                                                                              Page 7
                           Case 1:21-cv-02170-ACR                     Document 93-9                   Filed 05/26/25                   Page 34 of 50




                 Law Enforcement & Emergency Services Training Conference - October 2019

                       •     FFMPEG ror\/aftaat1on &: Analysis - (Trammg: 2 hrs)
                 •     Beyond Daubert: Defending Against Recent Challenges to LEVA's Training Program - (Training:
            - - - -·- ·1.5 hrs)--·-·-----·---------·---·-·--···------·-·--··-·----•--·------·--·-- ---·- --·--·-·--. ----·---·-- ··-··-·--·-·-·-·--·-··-
                       •     Forensic Video Applications: From Acquisition to Prosecution - (Training: 1.5 hrs)
                       •    _Mands-On_ Cas~ Ma_riag~mer:i~. with lnRut-Ace (Traini_!"lg: ~ _hrs)
                       •     Previewing Mobile Device & Storage Media - Performing Effective Onsite Triage (Training: 2 hrs)
                       •     Digital Multimedia Evidence and the Organization of Scientific Area Committees (OSAC) -
                             (Training 1.Shrs)
                       •     3D Laser Scanning Reverse Projection -(Training: 4 hrs)


                 Video Investigation for Technical Investigators - Lab_ Chicago Police Department, Chicago, IL, October
                 24 & 25, 2019 (Instructor: 16 hrs)


                  Democratization of Video Evidence - Developing Video Literacy for Every Investigator, International
                  Association of Chiefs of Police Annual Conference, Chicago, IL, October 291 2019 (Lecturer: 1.5 hrs)


                  Building Video Literacy for the Major Crime Investigator- FBI National Academy- FBI Academy,
                  Quantico, VA- November 15, 2019 (Lecturer: 2 hrs)


                     How Video is Being Weaponized Against Police - Daigle Use of Force Summit, Uricasville, CT, December
·-··-····-·--·-----~-,--2019 (Instructor~ 1:5 hrs)· - - -  ___.. _------ - - - _____ . ___ ------·---------- - - - - - - · -

                  Daigle Law Group - Use of Force Conference - December 3 - 5, 2019

                         • .. Use.o'f Force Trends - Legal Standards for Policy & Trail')ing-Attorney Eric Daigle (Training: 2hrs)
                         • How Video is Being Weaponized.- {Lecture: 1.25 hrs)
                                                                                        I
                         • Secrets to Uncovering Hidden Evidence in Use of Force Videos - Key Note Speaker - Daigle Use
                              of Force Summit, Uncasville, CT, December 4, 2019 (Instructor: 2 hrs}
                         • Preparing an Internal 015 Investigation for Review - Lt. Alan Yu, Oakland Police Department -
                              (Training: 1.25 hrs)
                         • Public Perception of Police and Use of Force - Attorney Lawrence Terra - (Training: 1.25 hrs)
                .. •- - "• • Human Dynamics:· Strategies in Use of Force Investigation - Sgt. Jami Borden - Force Sciences -
                              (Trair.,ing 3.5 hrs)
                         • Force Investigations for Investigators - Captain Sean Case, Anchorage Police - (Training: 1.25
                              hrs.)
----------- - ---:-----~-.---officer ·Involved -Shooting; Difference Perspective ·..;;Attorney Eric•Daigle·;;.:. (Training:·1.2s-hrs)-------- -----:- -- ----


                      -· . .                                     -           -   . ...
                  We?ponizing Video Against Police - Alaska FBINAA Chapter - December 6, 2019 (Lecturer: 4 hrs)
    - - - - - - - - - - - - - · - - - - - - - - - - - - - - - - - - - -·--·----------   - - - - · · - · - - - · - - - - - - - -- - - - - - - - - · · · - - - - - - - - - · - - · - ~ - -




                  Curriculum Vitae - Grant Fredericks                                                                                                          Page 8
                       Case 1:21-cv-02170-ACR                 Document 93-9            Filed 05/26/25          Page 35 of 50




                 Building Video Literacy for the Police Investigator, Command Staff Presentation - Honolulu Police
                 Department, Honolulu, HI - December 17, 2019 (Lecturer: 4 hrs)


 -·· ·- -- - -- • ····--Video· Investigation· for Major Crime· Investigators - Lah- Honolulu Police Department, Honolulu,--HI-- •--·------.. ----------
                        December 18 & 19, 2019 (Instructor: 16 hrs)



                 Advanced Internal Affairs Training Program - Savannah, GA January 15/16, 2020:

                      •·. Legal Issues Surrounding Video Admissibility - Attorney Eric Daigle (Training: 3.5 hrs)
                      •   Conducting Use of Force Investigations/DIS Standards BWC Events - Lt. Alan Yu (Training: 3.5
                          hrs)
                      • The Secrets to Exposing Hidden Evidence· in Use of Force lnvesti'gations - (Lecturer: 3.5 hrs)
                      •   How Video is being Weaponized Against Police -·(Lecturer: 3.5 hrs)


                 Video Investigation for Major Crime Investigators - Lab - Myrtle Beach Police Department, Myrtle
                 Beach, FL- February 3 & 4, 2020 {Instructor: 16 hrs}


                 Building Video Literacy for the Major Crime Investigator - FBI National Academy- FBI Academy,
                 Quantico, VA- February 6, 2020 (Lecturer: 2 hrs)


                 Video Examinations for the Police Investigator (Lab) - New York Office of Public Safety- New York State
                 Police Academy, Albany, NY - March 2, 3, 4, 5 (Instructor: 32 HRS)

                 Calgary Cyber Summit, Calgary, Alberta - March 10, 11, 12, 2020

                      •     Leveraging Cyber Threat Intelligence - (Training: 1 hr)
                      •     Artificial lntellig.ence for Cyber Security- {Training: 1 hr)
                       •    Investigating Transnational Cyber-Enabled Crimes - (Training: 1 hr}
                       •    Digital Forensics in Criminal Defense - (Training: .5 hrs)
                       •.   Digital Video Evidence: Critical Implications for Investigators - (Instructor: 1 hr)



                 Online Video Evidence Training Symposium - Remote --June 1- 5, 2020·

                       •    Conducting Video-Centric Investigation: Preparing for the End-Game - (Lecturer: 1.5 hrs)
                       •    Legal Issues and Trends Related to Video Admissibility-Attorney Eric Daigle- (Training: tS hrs)
-- -                   •    Analysis and Interviews· for Force· lnvesfigat1on--=-J,imle Borden& m~·p;~fulTaylor:::: (Training: 1..s------·-----
                            hrs}
                     -· •   Violent Crime Digital Evidence Recovery During Covid-19, How Major Cities are Adjusting - .
----·--- ·-- ---·---·- ____Workflows ..=-_Sgt .. Michael .Chiocca,..Chicago Police .Department .=..(Training:_1.5 .h(s) _. ______ --------·-----·-


                 Curriculum Vitae - Grant Fredericks                                                                              Page 9
                      Case 1:21-cv-02170-ACR            Document 93-9          Filed 05/26/25        Page 36 of 50




                  •     Calculating Accurate Timing from Video - Andrew Fredericks - (Training: 1.5 hrs)
                  •     DVR Evidence Recovery -The Good, the Bad and the Ugly -Tim Bate - (Training: 1.5 hrs)
                  •     More Than Me~ts the Eye - Brandon Epstein - (Training: 1.5 hrs)
                  •-Photoshop-in-the-Video·-AnalysisWorkflow---George·Reis--(T-raining:-1-:5-hrs}------------
                  •     Getting Started with Input-Ace - Brandon Wahl - (Training: 1.5hrs)
  ----- ------.---•---Video Evidence.and. P.hotogramme.try =.From the Field Through Analysis= Justin Wager-=------------------·----··
                       {Training: 1.5 hrs)



               Exposing Hidden Evidence in Use of Force Videos - Daigle Law Group - Remote - March 23, 2020
             • {Lecturer: 4 hrs) •

              Weaponizing Video Against Police - Daigle Law Group - Remote - March 30, 2020 - (Lecturer: 4 hrs)

              Digital Video Evidence: Critical Implications for the Police Investigator & Agency Executive - Pennsylvania
              State Police Chiefs Conference - January 13, 2021- Remote - (Lecturer: 1 hr)


               Digital Video Evidence - Collecting Visual Intelligence in the Capital Riot Investigation - FBI National
               Executive Institute, FBI Academy, Quantico, VA- February 11, 2021- {Lecturer: 4 hrs)


               2021 Video Evidence Training Symposium - Occam Video Solutions - March 22 & 25, 2021
                   • Video Investigation Units - How the Media is Leveraging Open Source Intelligence to Conduct
                       Forensic Video Examinations- March 22, 2021- Remote - (Lecturer: 1.5 hrs)
                   • Civilian Oversight: The Influence of Video_ 9n Public Perception - Seattle Inspector General Lisa
                      Judge - Remote - March 22, 2021 - (Training: 1.5 hrs)
                --•-Video Examination ana Admissioility in the Courtroom - Are you anc:I Expert? - Attorney Enc
                       Daigle - Remote - March 23, 2021- (Training 1.5 hrs)
                   • Fusion of 3D Technologies and Imagery- Professor Eugene Liscio, University of Toronto
                       Mississauga, ON, Canada - Remote - March 23, 2021- (Training: 1.5 hrs)
                   • Advancements in Technology for Calculating Speeds - Michael Jorgenson, James Kennedy,
                       Andrew Fredericks - Remote - March 24, 2021- (Training: 1.5 hrs)
                   • From Expert to Expert Witness - A Defense Attorney's Perspective - Attorney Solomon
                       Friedman - Remote - March 24, 2021 - (Training: 1.5 hrs)
                   • Defending Against Recent Challenges to Video Evidence - Andrew Fredericks, Certified Forensic
                       Video Analyst- Remote - March 25, 2021- (Training: 1.5 hrs)
                   •   Fast Forward: Emerging Trends in Video Evidence - Panel - Remot~ - March 25, 2021-
                       .(Lecture/Panel Memher: 1.5 hrs). -



               Video Examinations - Hands-On Workshop - Instructor Brandon Wahl, Certified Forensic Video
               Technkiari.:::. Occam Video Solutions.:.;;. March 30, 2021- (Training: 4 hrs)          ----


                     . .. . .. . .    .. -  -'              . .  -                    ..   -                         ..
                Unmasking the Truth Behind Video Driven Use of Force Investigations -A Canadian Perspective - April
--·-·--- --- -·29,-2021 ~-Burffaby;Bc~·canada=·(rnstructor:L5hrs}" ____ ------·----- · ----------------- -------------


               Curriculum Vitae - Grant Fredericks                                                                  Page 10
                       Case 1:21-cv-02170-ACR               Document 93-9            Filed 05/26/25          Page 37 of 50




               Digital Video Evidence - Issues for a Safer Canada - Safer Schools - April 30, 2021- White Rock, BC,
               Canada - (Instructor: 3 hrs)



-- -· -- --· -.. __.Video Lite.racy.f?r.Every Police. Officer =.FBI.National Command .Course, EBI.Academy,_Quaotj~o,..YA-::.. __ --·--- __ ·--- ··- _
                May 20, 2021- (Instructor: 4 hrs)




              . Yideo Litera~y ~~r Every ~oli_ce O~cer - FBI National Executive Institute, FBI Academy, Quantico, VA-
                May 20, 2021- (Instructor: 3 hrs)




               Video Investigation for Major Crime Investigators - Lab -Anchorage Police Department, Anchorage, AK
               - June 17 & 18, 2021 (Instructor: 16 hrs}


                Video Literacy for Law Enforcement: Exposing Hidden Evidence in Use of Force video Investigations -
              • Daigle Law Group - Remote - June 7, 2021- (Instructor: 3 hrs)


                Video Literacy for Every Police Officer - FBI Law Enforcement Executive Development Center, Miami, FL
                - August 4, 2021- (Instructor: 4 hrs)




                Video Literacy for Every Police Officer_: Montana -Chiefs. Conferena~-=-Helena~- MT,·:.. Octooer ·6';-2021-=----· --- ··- -
    \

                (Instructor: 4 hrs)




                Video Centric Casework: Unmasking the Hidden Details from Video Driven Homicide and Officer
                Involved Shooting Investigations - Illinois Homicide Investigators Association - Chicago, IL - October 13,
                2021- (Instructor: 4 hrs)




              ••• Calculating Speed from Video Images - Spokane Police Academy, Spokane, WA.:... October 28, 2021 ••• • - -·
                (Training: 8 hrs)




                Unmasking Hidden Details fro,m Video Driven Investigations - Novem~er 2, 2021- Louisville, KY -
                                                                            1

              . _(l_ns~!u_cto~_: _3 _ ~.r~)




                Curriculum Vitae - Grant Fredericks                                                                          Page 11
                              Case 1:21-cv-02170-ACR                            Document 93-9                   Filed 05/26/25                Page 38 of 50




                       Vide·o Centrfr:· casework-:....·i=BI -~fation·a1 Acade·rnv- November 22; 2021.:.: Quahtico·, VA- (ln·structor: 5
                                                                                                                              I
                       hrs)


                       Daigle Law Group - Use oHorce Conference - November 29-=-Decemoer2~202r=-uncasvilre,

    ------· ----·-·-·----- •- --Unmasking the Truth Behind Video ..Oriven..lnvestigations 7-. November . 29,. 2021.:::-.(Lab -:-__ ------------····----·----
                                 Instructor- 8 hrs)
                            • .. fo~~e Reporti~g & Force Investigation - November 30, 2021- Attorney Eric Daigle - (Training:
                                 1.25 hrs)
                            • • Use of Force Review Boards - November 30, 2021- Attorney Eric Daigle - (Training: 1.25 hrs)
                          . • Navigating Policies During a User of Force Investigation - Cpl. Kevin Selver_ian.::-: November 30,
                                 2021- (Training: 1.25 hrs)
                            • Unmasking the Truth Behind Video Driven Investigations of Police User of Force - December 1,
                                 2021- (Lecture: - 2 hrs)
                            • An Officer's Truth vs. The Objective Facts of the Case -Sgt. Jaime Borden - December 1, 2021-
                                 (Training: 1.25 hrs)
                            • Force Investigations: A Leader's Perspective -Chief Ken Wallentine, West Jordan Police
                                 Department, UT- December 1, 2021- (Training: 1.25 hrs)
                            • Human Performance in Use of Force - Dr. William Lewinski, Force Sciences - December 2, 2021
                                 - (Training: 2.25 hrs)
                            • Applying Human Factors to Force Investigations - Dr. Paul Taylor, University of Colorado -
                                  December 2, 2021- (Training: 1 hr)
                            • Speed and Motion: Interpreting Use of Force from Video Images - Det. Josh Guthrie,
                                  Pennsylvania State Police - December 2, 2021- (Training: 1.25 hrs)
                            • Developing a Timeline in Use of Force Investigations - Sgt. Jamie Borden, Henderson Police
                                  Department - December 2, 2021- (Training: 1.25 hrs)

                                                                                                                       ----------- - - - - - - - - - - . ------·---·---


                        Video Centric Use of Force Investigations - Critical Implications - January 27, 2022 - Remote - {Lecture -
                        4 hrs)




                        Protect Truth-2022 Video Evidence Symposium- Remote - March 28-31, 2022
                            • The Role of Video Evidence in the Kyle Rittenhouse Trial - Mark D. Richards, Corey Chirafisi, Dr.
                                John Black- {Training: 1.5 hrs)
                            • How Filters Effect the Interpretation of Video - Andrew Fredericks - (Training: 1.5 hrs)
                            • The Impact of Allowing Officers to View Video Prior to Providing a Statement - Dr. Paul Taylor -
                                (Training: 1.5 hrs)
                            • How Video Tells a Story- Mark Scheffler- NYT Visual Investigation Team - (Training: 1.5 hrs)
                            • • Case Study: Building Effective Workflows - (Lecturer: 1.Shrs)
                            • Maintaining ChainofCusfo-dy - AXon - {Tra1ii'iiig:l.5 hrs)
                            • The Evolution of Court Acceptance of Video - Panel - (Training: 1.5 hrs)
                            • Speed an<;i _Mo_tj9n I Jnterpretir:ig Use o.{ Fo_r~~ from Yideo l_rnages_-_D~t_. J~?h_ Guthrie ~ __(Tra_i~ing: .
                                1.5 hrs)
-     ··-·----·---------·-- ·-·------------------·--·---·- ·-------·--··-·--·· - - - - - - · - - - - · - . - - - -·---- - - - - - - - - - · · - - - - - - - - - - - - - - - - - - - - - - · - -




                        Curriculum Vitae - Grant Fredericks                                                                                                        Page 12
                 Case 1:21-cv-02170-ACR                 Document 93-9              Filed 05/26/25            Page 39 of 50




            Unma·sking the Truth Behind Video Driven Investigations - Critical Implications for the Senior Police
            Executive - Illinois Association of Chiefs of Police_ April 28, 2022 - Chicago, IL {Lecture: 3 hrs)



       ______ Jjnro;;1~kjng the_Truth_Behind Video _Driven lnvestigatio~?--= Critical Implications for the_Senior Police __________________ •___ _
              Executive - FBI National Command Course_ May 6, 2022- Fredericksburg, VA {Lecture: 2 hrs)



            Weaponizing Video Against Police -Axon Accelerate - May 25, 2022 - Phoenix, AZ - (Lecture: 1 hr)


            Weaponizing Video Against Police - A North American Perspective - International Council of Police
            Representative Associations -June 6, 2022 - Glasgow, Scotland - (Lecture: 4 hrs)


            Unmasking the Truth Behind Video Driven Investigations - Critical Implications for the Senior Police
            Executive - FBI National Command Course_ August 8, 2022 - Charlottesville, VA (Lecture: 4 hrs)


            Unmasking the Truth Behind Video Driven Investigations - Critical Implications for the Senior Police
            Executive - FBI National Command Course - September 26, 2022 - St. Augustine, FL {Lecture: 2 hrs)




----·--·-~ -------------•----- - - - -                  - - - - ----·. ----- ·-·. - · - - - - - - ·---------·--- -   ·-- - - · - - - - -




            Curriculum Vitae - Grant Fredericks                                                                                Page 13
                      Case 1:21-cv-02170-ACR                  Document 93-9             Filed 05/26/25          Page 40 of 50




                ADDITIONAL SPECIALIZED TRAINING - 2010 - 2019

        The Truth About Video Evidence - FBI National Executive Institute - Charlottesville, VA - June 2019
 -----(·Iectute:z-lirs)'-----------=------------------------------

 ---·-· _________ _Integrating Yideo .i.o:to_..?.. f.pr~l1?i~_Worlglow _-::J~.~f:>_T~chnqlogy Conference - Jacksonville, _FL ~May 2019____·. . ____ _
                   (Lecture: 2 hrs)

                Video Realitles, an Executive's Decision.;;. FBI LEEDS~ Virginia Beach, VA-April 2019 (2 hrs) •

                 Advancing Body Worn Video Strategies for Police Agencies -Tennessee Police Chiefs - Nashville, TN -
                •·February 20i9 l4 hrs) ••• -

                 Byte Level Analysis - Occam Video Solutions, Spokane, WA- January 2019 (16 hrs}

                 Integrating Metadata into Video Images - Israeli Intelligence Services, Jerusalem, Israel, -January 2019 (4
                 hrs)

                 LEVA Conference - San Antonio -Various Training Sessions - November 2018 (6 hrs}

                 Video Analysis for Civilian Oversight- New York City, October 2018 (16 hrs)

                 International Association of Chiefs of Police - Legal Officers Section - Orlando, FL- October 2018 (4 hrs)

                 Video Evidence Management- LA County Sheriff's Office -August 2018 (2 hrs)

                 Video Infrastructure for Large Scale Police Agencies - LA County Sheriff's Office -August 2018 (2 hrs)
-----------------------·- - - -              - - - - - - - - - - - - ·- - - - - ·--------··-·--
                 Video Analysis for the Technical Investigator- NATlA, Phoenix, AZ-July 2018 (2 hrs)

                 Use of Force, Applications for Video Examinations in Canada, Vancouver Police, June 2018 (16 hrs)

                 Weaponizing Video Against Police - FBI National Academy, Enrichment- May 2018 (2 hrs)

                 Video Analysis Review- Black Lake, Colville, WA (LEVA Instructors)- February 2018- (16 hrs)

                 DLG Summit- Video Analysis for Use of Force Investigators - Uncaseville, CT - November i0l 7 (4 hrs)

                 Las Vegas Use of Force Conference - Video Expose - November 2017 (4 hrs)

                 Video Examinations for the Police Investigators - Lincoln, NE- November 2017 {16 hrs)

                .Jnterna_ti9nal Association of Chiefs of Police - Legal Officers Section - Philadelphia, PA- October 2017 (4
                 ~~                                                 ••             -        •             --


                 FL Association of Police Attorneys - Legal Considerations for the Admissibility of Video Evidence,
·-·--·--·.. ---- October_2017 (4 hrs) ____________________ ----------·--·---------·----- _ _ __


                 Curriculum Vitae - Grant Fredericks                                                                             Page 14
    Case 1:21-cv-02170-ACR               Document 93-9          Filed 05/26/25       Page 41 of 50




Video Investigations for Senior Police Executives - FBI National Academy- Quantico, VA September 2017
(2 hrs)

National Internal Affairs Association - Unmasking the Trutn-Beninav'i'oeo"D'fiven Investigations -
Montreal, Canada·_ August 2017 - (4 hrs)

Body Worn Video Executive Tr~ining - Watchguard -Allen, TX - January 2017 (4 hrs)

SIFIR - Force lnvestig~tions for lntern~I Investigators - Seattle, WA-Jan'uary'2017 ,{4 hrs)

30 Imaging T~.~hnology :- 3rd T~~h, ColvJ.11~,--WA- Feb 2012_(?4_ hr~).

Forensic Image Processing & Analysis Workshop - North Carolina State University, College of Textiles,
Raleigh, NC - May 2010 (32 hrs}

Advanced Forensic Video Analysis Issues - LEVA, Spokane, WA- Feb 2010 (32 hrs)




 Curriculum Vitae - Grant Fredericks                                                                 Page 15
                 Case 1:21-cv-02170-ACR             Document 93-9          Filed 05/26/25   Page 42 of 50




          APPENDIX A
          EXPERT TESTIMONY (Last 12 Years)

          05/20/24 - State v Jeffrey Alan Nelson,
          Murder
          Judge Ni~of~ G~ines Phelps, King County Superior Court, Kent, \NA


          04/15/24--Regina v Boden, Clarke, Webster,-
          Burglary, Etc.
          Jud~e Roger Chapple, Grand Court, Cayman Islands


          03/26/24 - State v Joshua Puloka,
          Murder x 3
          Judge Leroy McCullough, King County Superior Court, Kent, WA


          10/02/23 - State v _Burbank, Collins & Rankine,
          Murder
          Judge Bryan Chushcoff, Pierce County Superior Court, Tacoma, WA


          01/31/23 - State v DARCUS ALLEN,
          Murder x 4, Trial
          Judge Edmund Murphy, Pierce County Superior Court, Dept. 2, Tacoma, WA


          10/10/22 - State v DARCUS ALLEN,
          Murder x 4, Hearing
          Judge Edmund Murphy, Pierce County Superior Court, Dept. 2, Tacoma, WA


          5/18/2,2 - State v Richard Ellis
          First Degree Murder
          Honorable Judge John Kissinger, New Hampshire Superior Court, Concord, NH


          ;,/'}..8/2i -$.tate _v Richard EIJi_s__
          First _Degree Murder - Hearing
          Honorable Judge John Kissinger, New Hampshire Superior Court, Concord, NH

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          01/01/21-R v Alex McCrory &.Colin··ouffy_ _ _ -------------------
          Attempted Murder, Terrorism
          -Mr. Justice John O'Hara, Royal Court of Justice, Belfast, Ireland - Remote




              Appendix A- Grant Fredericks - Depositions (Last 10 Years)                                Page 16
                    Case 1:21-cv-02170-ACR                 Document 93-9            Filed 05/26/25          Page 43 of 50



                    -        -
              12/10/20 - R v Gurpreet Singh
              Murder
              Birmingham Crown Court, Birmingham, UK - Remote


               1/8/20 - Commonwealth vs. Charles Williams
        _____ Fir~t-degree murder, Attempted_ "-1_l!fde!:_~.Dd. Prohibited _Possession of a Firearm ·---------------. _______ ... ---····-·- _____ _
               Dauphin County Court of Common Pleas, Judge William T. Tully


               10/10/19 - Commonwealth vs. Charles Williams (Hearing)
               First-degree murder, Attempted Murder and Prohibited Possession of a Firearm
               Dauphin County Court of Common Pleas, Judge William T. Tully • ·-··


               9/13/19 - State of South Carolina vs Sidney Moore'r
               Kidnapping
               Circuit Judge Benjamin Culbertson, Fifteenth Judicial Circuit, Horry County, SC


               6/17 /19 - R. v. Daniel Montsion
               Manslaughter
               Ontario Court of Justice, The Honourable Justice Robert Kelly, Ottawa, ON


               5/10/19 - R. v Elmer Write & Nike! Thomas
               Horne Invasion (Indictment 11/2018)
               Mr. Justice Roger Chapple, Grand Court of the Cayman Islands


               4/8/19 - State of New Mexico v Devon Lymon,
               First Degree Murder
               Judge Neil Candelaria, Second Judicial District, Albuquerque, NM


               2/25/19 - State v Alexander Villa,
               First Degree Murd~r                                                             \
                                                I

               Honorable James Linn, Circuit Court of Cook County, Chicago, IL


                11/13/18- People v Lonnie Ray SWARTZ{ Case# CR-15-1723-TUC-RCC-DTF
               Second Degree Murder
                Honorable Raner C _Collins, United State District Court, Tucson, AZ


                10/10/18 - State of South Carolina vs Tammy Moorer
______K_id_n_apping ____________ _
      Circuit Judge Benjamin Culbertson, Fifteenth Judicial Circuit, Horry County, SC




                Appendix A- Grant Fredericks - Depositions {Last 10 Years)                                                   Page 17
                        Case 1:21-cv-02170-ACR                           Document 93-9                     Filed 05/26/25              Page 44 of 50




             -· • 08/23/18-State v. Kim Thien BUI, HungThanh TRAN, and Thuan TRAN, Case #SC0270648 -
                 Assault
                 Judge Michael Groch 01502, San Diego, CA


                 08/20/18 -State v. Roy OLIVER, Case# 17-045812
 __ , _________ Second Degree Murder_·--··----·-····------·---------·--·-·-----·-.--··--------··----·-----·-·--·-                                    --·---------·--·-·------·•·----·
                Judge Brandon Birmingham, Dallas County, TX


                 08/06/18- State v·. Kim Thien BUI, Hung Thanh TRAN, and Thuari TRAN, Case #SC0270648, 402 Hearing
                 Assault
                -Judge Michael Groch 01502, San Diego, CA


                 08/02/18 - R v Gerard Jaleel BUSH Rico WALTON
                 Possession of Unlicensed Firearm
                 Justice Francis Belle, Grand Court of the Cayman Islands


                 04/11/18- People v Lonnie Ray SWARTZ, Case# CR-15-1723-TUC-RCC-OTF
                 Second Degree Murder
                 Honorable Raner C Collins, United State District Court, Tucson, Al


                 01/29/18 - Ex Parte George Robert POWELL II, Cause No. 63436B

                 Appeal
                 Judge John Gauntt, District Court, Bell County, TX


-···--- ----------12/04/17 - People v.-Michael·SLAGER-- -·- - - - - - -                                     ··--· ·-----··---·- ·--------·--- - - · - - - -

                  Murder
                  Honorable David C. Norton, US District Court, Charleston, SC


                  11/15/17 - People v Tyler Dean, Kevin Garcia & Ryan Valdez, Case # CN358872
                  Murder
                  Judge Richard R Monroy, San Diego Superior Court, North County Division, CA_


                  10/11/17 - People v Alfred MURPHY, Nicoy SMITH, and Danielle DUMONT, Case# SCE359335
                  Murder
                 •H6nor·able Patricia Cookson, Departm·ent 16, El Cajon, CA                            •


                  10/09/17 - State of Washington v. Cleanthony JIMERSON, 15-1-03011-2 KNT

                                                                                          \   -------- --·--·---
                  Judge Janet Helson, King County, WA


    - - ----- -------------------------- - · - - - - - - - - - - - - - - - - - - - - - - - - - - - - - · - - - - - - - - - - - · · · - - - · - - - · - · - - - - ~ - - - - - - - - - - -


                  Appendix A - Grant Fredericks - Depositions {Last 10 Years)                                                                               Page 18
                               Case 1:21-cv-02170-ACR          Document 93-9             Filed 05/26/25   Page 45 of 50




                                                                           ..
                     06/2?./17 - United States v Lonn,ie Ray SWARTZ, CRlS-1723 TUC RCC

                     Murder
                     U.S. District Court, AZ


                     06/12/17 :-- - State v Raymond TENSING, Case# 8-1503961
 --·- - - · - · · · - · - - · - - - - -        - - - - - - - - - - - .•. ·-···---- - - - -
                     Murder
                     Honorable Leslie E. Ghiz, Court of Common Pleas, Hamilton County, OH


                     05/26/17 - State v Raymond TENSING, Case# 8-1503961
                     Murder • ·- ·- •
                     Honorable Leslie E. Ghiz, Court of Common Pleas, Hamilton County, OH


                     03/17 /17 - People of the State of Illinois vs. Roberto CERDA, No. 11 CR 10290
                     Murder 3        x
                     Judge Timothy Joyce, Circuit Court of Cook County, IL


                     11/17/16 - People v. Michael SLAGER
                     Murder
                     Judge Clifton Newman, County of Charleston, SC


                     11/2/16 - State v Raymond TENSING

                     Murder
                     Judge Megan E. Shanahan, Hamilton County Common Pleas Court, Cincinnati, OH
- - - - - - --- - - - - - - - - - - - - - - - - ------------- - - - - - - - - - - -- - - -

                     11/8/16 - State v DARCUS ALLEN,
                     Murder x 4, Hearing
                     Judge Katherine M. Stolz, Pierce County Superior Court, Dept. 2, Tacoma, WA


                     7/1/16 - R v Brandon LIBERAL
                     Burglary
                     Justice Marva McDonald-Bishop, Grand Court, Cayman Islands


                     6/22/16 - State v Sydney MOORER & Tammy MOORER
                     Murder
                     Judge Markley Dennis, Cir. Ct. J.; South Carolina Jud. Dept Horry County, SC

                --       ---    --



-·---- --------·- 6/8/16---=--People·v. Gilberto NUNEZ~-UlsterCountyh1cHctment #2015-11-9--.:-: ~ -
                      Murder
                     J~dge [?_on~l_d A. Willi~~s, Ulster C~u:n~'- NY




                      Appendix A- Grant Fredericks - Depositions (Last 10 Years)                                     Page 19
                         Case 1:21-cv-02170-ACR                    Document 93-9               Filed 05/26/25             Page 46 of 50




                 4/26/16 - R vi~stin RAMOON & Osborne DOUGLAS _

                 Murder
                 Mr. Justice Charles Quin, Grand Court, Cayman Islands


                  4/18/16 - State v Sydney MOORER & Tammy MOORER, Jones Hearing
----- ------~-----·Krdnapping    ·       --·-·-·- ·--- ·---------- --------- ---- ---·•· -----·---·- -----------· · -·- ·--------· ------··----------·· ---· -- -----·
                 Judge Markley Dennis, Cir. Ct. J.; South Carolina Jud. Dept. Horry County, SC


                    4/15/16 - People v. Gilberto NUNEZ, Ulster County Indictment# 2015-119, Frye Hearing

               ·-
                    Murder
                     .    -
                    Judge Donald A. Williams, Ulster County, NY


                    12/15/15 - Tamir RICE - Police Involved Shooting Death
                    Grand Jury, Cincinnati, OH


                    11/26/15 - R v Devon ANGLIN, Indictment 70/10
                    Murder
                    Mr. Justice Charles Quin, Grand Court, Cayman Islands


                    10/28/15 - People v. Matth'ew Pocd, Case #SCD260967

                    Aggravated Assault
                    Honorable Amalia L. Meza, San Diego County Superior Court, CA


                    10/26/15 - R v. Dennis OLAND
-----·--·- - - - - - - - - - - - - - - - - - - - - - -                                     --·-·-----·-----·---------·- - - - - · - · - - - · - -·-··-------- - · · - -
                    Murder
                    Mr. Justice John J. Walsh, Court of Queen's Bench, Saint John Judicial District, New Brunswick, Canada


                    10/01/15 - People v. Gilbe~o A. NUNEZ, Ulster County Indictment# 2015-119
                    Second Degree Murder
                    Grand Jury, Ulster County, NY


                    8/27 /15 - James C. FUDA v. King County, et al, No. 11-2-19682-8 KNT
                    Dangerous Driving Resulting in Death
                . Kent, WA__


                    8/14/15 - R v Andrew LOPEZ, Bron WEBB, Randy CONNOR, Dwight WRIGHT, Indictment: 115/15
                    Robbery___ _- - -
                    Mr. Justice Francis Belle, Grand Court, Cayman Islands,




                     Appendix A - Grant Fredericks - Depositions (Last 10 Years)                                                             Page 20
                            Case 1:21-cv-02170-ACR                    Document 93-9                Filed 05/26/25             Page 47 of 50




                  --6/16/ls·;. Appeal of Joseph-WOLFE v. City of Fullerton Hearing
                    Police ,Misconduct
                    Fullerton, CA


                    3/23/15 - Kelly THOMAS Hearing
 --·----·------·.Police Misconduct-·------·------                - - - - · - --------··-- --·-------·-······-- - - .. -·---··--------- - - - ---- ··--. ····--··---·-·-----

                    Fullerton, CA


                    3/19/15 - State v. Erick WALKER, Cause #13-1-01557~3
                    Murder
                    Ju.dge Thom·as J. Wynne, Snohomish ·coi:.inty, WA


                    1/20/15 - State of Iowa vs. Antonio HUTCHINS, Black Hawk County Case No: FECR192543
                    First Degree Murder
                    Des Moines, IA


                    12/18/14 - Corrie BURCKHARD vs. BNSF Railway, et al.., Cause No. 4:13 - cv- 038
                    Civil
                    Judge Daniel L. Hovland, U.S. District Court, Fargo, ND


                    11/19/14 - State v. Jaycee FULLER, Cause #09-1-01865-2

                    Murder
                    Judge Ronald Culpepper, Pierce County Superior Court, WA

----··--···---11/13/14-;Peoplev·caseyMichaelTSCHIDA--·----·-------------------··--··---·-----------··-----·-·--·--
                    Murder
                    San Diego, CA


                    11/12/14- People v. HAQQ, Cause No. ADP521
                    Murder
                    Superior Court, San Diego, CA


                    09/16/14 - R v. Dennis OLAND, Preliminary Hearing
                     Murder
                    .Judge ·Ronald Le Blanc, St. John Provincial Cou·rt, St. John~ NB


                     8/28/14 - Government of the United States v Staff Sgt. Arthur LAH MON
-------------- ____ f.ir.st.Degree_Murder, Article 32            _ -______________ -____________________________________________________ . ------·----
                     US Military Court, Eastern Region Camp Lejeune, NC


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                     Appendix A - Grant Fredericks - Depositions (Last 10 Years)                                                                  Page 21
                         Case 1:21-cv-02170-ACR                 Document 93-9             Filed 05/26/25           Page 48 of 50




                ·s/6/14. -·R·v. Aasif PATEL & Wariskhan PATHAN
                Murder
                Ontario Superior Court, Toronto, ON


                4/8/14 - People v. Kassim ALHIMIDI, Case No: SCE325289

---··---------Murder-----·------------------···-····-···--·--·--·-·--···--------···· · -· - --- ··--------- --· ·-·---·---·--·-·--·-----·-·---- · · ·
                 Judge William McGrath, San Diego Superior Court, CA


                 2/25/14 - Mitchell COHEN v Transportation Insurance Company, 1:10-CV-0743 (GTS/RFT)

              -- Civil                   · -·. ·-· -
                 Judge Glenn T. Suddaby, US District Court, Northern District, NY


                 2/03/14 - Adalberto FLORES-HARO et al v. WC et al, Case No. 3:12-cv-01616-HA

                 Civil
                 Grand Jury, Multnomah County, Portland, OR


                 12/20/13 - People v VILLALTA, Indictment #2928-2012
                 Possession of Child Pornography
                 Judge Charles S. Lopresto, Queens County Court, NY


                 11/25/13 - State of Oregon v. Silvano VELASQUEZ, Case No. 1310-35017

                 Homicide
                 Grand Jury, Multnomah County, Portland, OR .


                  11/13/13 - State of Washington v. Morris TALAGA, 11-1-12176-0 KNT
                  Aggravated Assault
                 Judge James Cayce, King County, WA


                  10/31/13 - People v. Shane GRATTAN
                  Murder
                  Judge Amalia L. Meza, San Diego, CA


                 •10/22/13 - State of Texas v. Tyrone Pierre THOMAS, Cause# 1195093
                         -          .       .               -
                  Murder 1
                  Judge Mike Thomas, Criminal District Court #4, Tarrant County, TX

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               ···--10/2.1/13":"·s~niaVISHN0~ Aam1n1sfra1:rixof tffe'Esfate·of Joel ·GONZALEZv·Larry FORAN; New Penn----
                  Motor Express, Inc.; and All Star Appliance, Inc., Docket No. UWY-CV-XX-XXXXXXX S
                 .Suppression Hearing _ ..
_------··· _____ ~ew Haven,_CT -----------·•-- _______ --·--·-·---·--·-·-··-·------ ··----·-· ___ ·--·· .. ·------···---·-----···-----·-· ·---··- _________ _


                  Appendix A - Grant Fredericks - Depositions (Last 10 Years)                                                        Page 22
                       Case 1:21-cv-02170-ACR                       Document 93-9                 Filed 05/26/25              Page 49 of 50




               10/09/13 - R v Mignot, et al
            • Robbery
      _ _ _ Justic~listair:_Malcolm.,_G(fiD_d_C_oJ,,1rt~~1_yi:::mu1_ls_la_n_d_s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


               04/23/13 - R v TOMASSA, et al
      ·------------------          ·•   ----------- --------·------····- -- ····-----------···--·---·--··- --- -·-------··--·····----·-----···--·- - ...... --··---- - - · · -
               Robbery
               Justice Alexander Henderson, Grand Court, Cayman Islands


               1/7/13 - Manal AL MEHDHAR v. Greyhound Lines, Inc. et al, Index Number: 12010-4702
               Civil
               Judge Joseph R. Glownia, Erie County Supreme Court, NY


               12/3/12 - State of Texas v. Randy SIEBEL, Cause# 1195090
               Murder 1
               Judge Mike Thomas, Criminal District Court #4, Tarrant County, TX


                10/15/12 - Anthony PIRONE v Bay Area Rapid Transit
                Employee Relations
               Arbitration, Oakland, CA


                8/22/12 - ARSENAU L:T v. City of Seattle

                Use of Force
                US Federal Judge James L. Robarts ,US District Court for the Western Division, WA
                         - - - - - - • - -- ------------·--·-·---·-----· ·----- - - - - - -···- .. - - .. ·- ----- - - - - - - - - ·-···-·•·. ··-- - -
                6/20/12 - R v. Christopher SHADROCK
                Murder
                Honorable Justice Brewer, High Court, Auckland Registry, New Zealand


                5/30/12 - Amilton Nicolas BENTO v~ Chief Constable of the Bedfordshire Police, Case No: HQ10D01015
                Slander
                Mr. Justice David Michael Bean, High Court of Justice, Queen's Bench Division, London, England


                1/5/12 - State of Texas v. Kwane A. ROCKWELL, DA Case# 1195088
               • Murder 1 • •• •
                Judge Elizabeth Berry, Criminal District Court, TX


---        -    12/5/11-- R v..Oevon .ANGLIN _____________________.:._ ____ __
                Murder
                Chief Justice Anthony Smellie, Grand Court, Cayman Islands

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                Appendix A- Grant Fredericks - Depositions (Last 10 Years)                                                                        Page 23
                      Case 1:21-cv-02170-ACR                                  Document 93-9   Filed 05/26/25      Page 50 of 50




          -- -- 11/30/11;.; State v. Alfred Joseph SANCHEZ, Cause# 09-1-591-9
                Attempted Murder - Rebuttal Evidence
                Judge Christine Pomeroy, Superior Court, Thurston County, WA


                11/09/11- State v. Alfred Joseph SANCHEZ, Cause# 09-1-591-9

•--- -·-------- AttemptedMurder----------- - ------- --------------·- -- ·-- •··· ----------- ----------------·- ---- -----------·-·-·--·-·------··-- - --
                Judge Christine Pomeroy, Superior Court, Thurston County, WA


                10/25/11- PASKALIDIS v. Caprice Hospitality, et al, 2011 BCSC 1699
                Personal Injury - Civil
                                                     •   I   -   ~        •   ~   '


                Justice William F. Ehrcke, Supreme Court, Vancouver, BC


                10/19/11- People v. Chu VUE & Lang VUE, Court No. 09F02572-b
                First Degree Murder
                Honorable Steve White, Sacramento Superior, CA


                08/19/11- R v Devon ANGLIN, Indictment 70/10
                Murder
                Mr. Justice Cooke, Grand Court, Cayman Islands


                05/31/11- TX v. State v. Trevante SMITH, Cause numbers 10CR3584 and 10CR3585

                Rob_bery
                Judge Wayne Mallia, 405th District Court, Galveston County, TX

                04/2b]ir--WAv.TlPs·EY,-O9:1:02·790-7 SEA____ •
                Murder 2
                Honorable Bruce E. Heller, King County Superior Court, WA


                03/30/11 - State v. Aaron J. LAROSE, 0911-CR03956-01
                 Homicide
                Judge Nancy Schneider, 11th Judicial Circuit, Division 2, St. Charles County, MO


                03/23/11- WA v. Darcus Dewayne ALLEN, 10-1-00938-0
                 Murder x 4
                Judge Frederick Fleming, Pierce County, WA


                11/2/10-_ \JiJA y. Alfred Joseph SANCHEZ, Cause#
                                             -   -           {
                                                                 09-l-;-591-9
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                AttemptMurder ___       •. -- - - -         - - - ------------·---------
                Judge Christine Pomeroy, Thurston County Superior Court, WA




                 Appendix A- Grant Fredericks - Depositions (Last 10 Years)                                                         Page 24
